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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )
                                              )
             vs.                              )                 8:06CR182
                                              )
LEOPOLDO MEJIA,                               )                  ORDER
                                              )
                    Defendant.                )




       Before the court is defendant’s unopposed Motion for Continuance [55]. Good
cause being shown, the motion will be granted and the Change of Plea hearing will be
continued.

       IT IS ORDERED that the Motion for Continuance [55] is granted and the Change
of Plea hearing is continued to November 21, 2006 at 3:30 p.m. before Magistrate
Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman L. Hruska U.S.
Courthouse, 111 So. 18 th Plaza, Omaha, Nebraska.

       For this defendant, the time between October 18, 2006 and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

      Since this is a criminal case, the defendant must be present, unless excused by
the Court.

      DATED this 20th day of day of October, 2006.

                                            BY THE COURT:


                                            s/ F.A. Gossett
                                            United States Magistrate Judge
